             Case 22-11068-JTD         Doc 10161         Filed 03/22/24     Page 1 of 3




UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE


  In re:                                                   Chapter 11

  FTX TRADING LTD., et al.,                                No. 22-11068 (JTD)

                         Debtors                           (Jointly Administered)


           PARTIAL TRANSFER OF CLAIM OTHER THAN FOR SECURITY

       A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2) of the Federal Rules of
Bankruptcy Procedure of the transfer, other than for security, of the claim referenced in this
evidence and notice.

 Name of Transferor:                          Name of Transferee:

 Name (Redacted)                              Canyon Balanced Master Fund, Ltd.

 Name and Current Address of                  Name and Address where notices and payments to transferee
 Transferor:                                  should be sent:
 Name (Redacted)                              Canyon Balanced Master Fund, Ltd.
                                              c/o Canyon Capital Advisors LLC
                                              Attn: James Pagnam and Legal
                                              Email: legal@canyonpartners.com
                                              2000 Avenue of the Stars, 11th Floor
                                              Los Angeles, CA 90067

  Claim No./Schedule        Creditor Name                Amount                 Debtor             Case No.
  Confirmation ID No.       Name (Redacted)           23.88% of the         FTX Trading Ltd.       22-11068
   3265-70-IZAGT-                                     Unliquidated
      308364303                                     (stated in crypto)
  Customer Code No.         Name (Redacted)         23.88% of the as        FTX Trading Ltd.       22-11068
       00311877                                        described on
                                                        Schedule F
                                                        (attached)

I declare under penalty of perjury that the information provided in this notice is true and correct
to the best of my knowledge and belief.

By: _____________________                                                Date: March      , 2024
Transferee/Transferee’s Agent
Case 22-11068-JTD   Doc 10161   Filed 03/22/24   Page 2 of 3
             Case 22-11068-JTD        Doc 10161      Filed 03/22/24     Page 3 of 3




                                      Identity of Transferor


Transferee has in its possession an Evidence of Transfer signed by the Transferor.

In order to protect the identity of the Transferor, Transferee has not disclosed the Transferor’s
name or address, and has not attached the signed Evidence of Transfer to this notice of Transfer
of Claim.

Upon written request, Transferee is prepared to provide a copy of the signed Evidence of
Transfer to the Bankruptcy Court, the Debtors, and appropriate professionals.
